Case 1:19-cv-07346-AJN-KNF Document 24-2 Filed 11/26/yeyuecOis BING [13

EW,

CRIMINAL COURT OF THE CITY OF NEW YORK. ,,

 

 

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COUNTY OF NEW YORK: PART D HO AUG ~ 7 py
THE PEOPLE OF THE STATE OF NEW YORK AFFIRMATION
OF SERVICE
-against- BY MAIL
Dkt. No.
HELEEN MEES, 2013NY050589
Defendant.

 

 

The undersigned, being the attorney of record for the People of the State of New
York in this matter affirms under penalty of perjury that on August 7, 2013, she
served a Superseding Information and a Certificate of Readiness upon defendant's
attorneys: VANESHKA HYACINTHE, by mailing same to the attorney's designated
address, which is The Legal Aid Society, 49 Thomas Street, New York, NY 10013-
3821; and IRA LONDON, by mailing same to the attorney's designated addtess,
which is 99 Park Avenue, Suite 1600, New York, NY 10016.

Dated: New York, New York
August 7, 2013

 

Assistant District Attorney
212 335-9983
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Case 1:19-cv-07346-AJN-KNF Document 24-2 Filed 11/26/19 Page 2 of 6

 

Page 1 of 3
CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK
THE PEOPLE OF THE STATE OF NEW YORK | FAMILY OFFENSE
DEFENDANT/VICTIM
-against- RELATIONSHIP: INTIMATE/
MISHEMEANOR
Heleen M 41
eleen. Mees (F' 41), ADA Samantha Schott
Defendant. | 212) 335-9983

 

 

Detective Catl Roadarmel, Shield 6632 of the 20th Precinct Detective Squad,
states as follows:

The defendant is charged with:

1 PL 120.14() Menacing in the Second Degree
(defendant #1: 1 count)
2 PL 120.503) Stalking in the Third Degree
(defendant #1: 1 count)
3 PL 240.30(1)(a) Aggravated Harassment in the Second Degree
(defendant #1: 4 counts)
4 PL 120.45(2) Stalking in the Fourth Degree
(defendant #1: 1 count)
5 PL 240.268) Harassment in the Second Degtee

(defendant #1: 1 count)

At the times and places described below in the County and State of New York,
the defendant repeatedly followed another person and engaged in a course of conduct and
repeatedly committed acts over a period of time intentionally placing and attempting to place
another person in reasonable fear of physical injury; the defendant with intent to harass,
annoy and alarm a specific person, intentionally engaged in a course of conduct directed at
such person which was likely to cause such person to reasonably fear physical injury and
serious physical injury, the commission of a sex offense against, and the kidnapping,
unlawful imprisonment and death of such person; the defendant, with intent to harass,
annoy, threaten and alarm another person, communicated with a person, anonymously and
otherwise, by telephone, by telegraph, and by mail, and by transmitting and delivering any
other form of written communication, in a manner likely to cause annoyance and alarm; the
defendant intentionally and for no legitimate purpose, engaged in a course of conduct
directed at a specific person and knew and reasonably should have known that such conduct
caused material harm to the mental and emotional health of such person, where such
conduct consisted of following, telephoning and initiating communication and contact with
such person, and the defendant was previously clearly informed to cease that conduct; the
defendant, with intent to harass, annoy and alarm another, engaged in a course of conduct
which alarmed and seriously annoyed another person and which served no legitimate
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Case 1:19-cv-07346-AJN-KNF Document 24-2 Filed 11/26/19 Page 3 of 6

 

 

 

Page 2 of 3
CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK
THE PEOPLE OF THE STATE OF NEW YORK. | FAMILY OFFENSE
DEFENDANT/VICTIM
-against- RELATIONSHIP: — INTIMATE/
MISDEMEANOR
Heleen Mees (F 41
eleen Mees (F'41), ADA Samantha Schott
Defendant, | (212) 335-9983
purpose.

The factual basis for these charges are as follows:

Between November 7, 2009, and July 1, 2013, I received over three thousand
emails from an email address that I know to belong to the defendant. I received and have
read many of these emails inside of my home, in the County and State of New York. Since
November 7, 2009, I have sent several emails requesting that the defendant stop contacting
me. On February 27, 2013, a letter was sent to the defendant requesting that she cease all
communications with myself and my family. Since February 27, 2013, to July 1, 2013, I
received several hundred emails from the defendant.

On September 15, 2012, the defendant sent me an email stating in substance: "I
hope you die." On September 15, 2012, the defendant sent me an email stating in substance:
"I hope you die (read this to your wife)." On September 14, 2012, the defendant sent me an
email stating in substance: "I hope your plane falls out of the sky." On May 3, 2013, the
defendant sent me an email containing pictures of dead birds. The defendant's actions
caused me annoyance and alarm.

Between May 12, 2013, and May 24, 2013, the defendant sent me at least 55 emails
containing sexually explicit messages, and between May 26, 2013, and June 27, 2013, the
defendant sent me at least 68 emails asking if I would meet her for a drink, causing me
annoyance and alarm.

Between Januaty 11, 2013, and April 24, 2013, the defendant sent me at least 164
messages on Facebook, causing me annoyance and alarm.

In March 2013, the defendant called one of my mobile phones hundreds of times,
forcing me to turn off the phone and leading to over $300 in international roaming charges.

In May 2010, the defendant tried to meet with me at my hotel in Beijing, China,
and in January 2013, the defendant tried to meet me at my hotel in Amsterdam, The
Netherlands, by using a fake name. On May 6, 2013, the defendant came to my apartment
building in the County and State of New York, and tried to be let up to my apartment.
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Case t-t9-cv-07346-ASiEKNE—Boeument24-2—Ftted 11/26/19 Page 4 of 6

THE PEOPLE OF THE STATE OF NEW YORK | FAMILY OFFENSE
DEFENDANT/VICTIM
-against- RELATIONSHIP: INTIMATE/

Heleen Mees (F 41), MISDEMEANOR

Defendant, | (212) 335-9983

 

 

The defendant's actions have caused me severe annoyance and alarm, and to fear
for my physical safety and for the safety of my wife, Anne, and my children.

  
   

 

F ements made in this written instrument are punishable as a class A

eajjor pursuant to section 210.45 of the Penal Law, and as other crimes.

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Ww em BNver, oF an address known to the District Atton Date Time |

 

 

 
Case 1:19-cv-07346-AJN-KNF Document 24-2 Filed 11/26/19 Page 5 of 6

CRIMINAL COURT OF THE CITY OF NEW YORK

COUNTY OF NEW YORK: PART D

 

THE PEOPLE OF THE STATE OF NEW YORK

~against-

HELEEN MEES,

Defendant.’

 

 

CERTIFICATE OF
READINESS

Dkt. No.
2013NY050589

SAMANTHA SCHOTT, an Assistant District Attorney in the County of New

York, hereby certifies that the People are ready for trial in the above-entitled action.

Dated: New York, New York
August 7, 2013

Respectfully submitted,

  

  

na

Assistant District Attorney

212 335-9983
Case 1:19-cv-07346-AJN-KNF Document 24-2 Filed 11/26/19 Page 6 of 6

 

 

CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK

 

 

THE PEOPLE OF THE STATE OF NEW YORK
-against-
HELEEN MEES,

Defendant.

 

 

CERTIFICATE OF READINESS

Dkt. No. 2013NY050589

 

 

Cyrus R. Vance, Jr.
District Attorney
New York County
One Hogan Place
New York, New York 10013
(212) 335-9000
